                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


Civil Action No. ____________________


LEHMAN BROTHERS HOLDINGS INC,

                Plaintiff,

v.

UNIVERSAL AMERICAN MORTGAGE
COMPANY, LLC,

                Defendant.




                                         COMPLAINT


         Plaintiff, Lehman Brothers Holdings Inc. (“LBHI”),1 by and through its undersigned

attorneys, and for claims for relief against Defendant Universal American Mortgage Company,

LLC (“Universal”), alleges as follows:




1
 Plaintiff Lehman Brothers Holdings Inc. (“LBHI”) commenced a voluntary case under chapter
11 of title 11 of the United States Code (the “Bankruptcy Code”), on September 15, 2008, in the
United States Bankruptcy Court of the Southern District of New York (the “Bankruptcy Court”).
On December 6, 2011, the Bankruptcy Court entered an order confirming LBHI’s Modified
Third Amended Chapter 11 Plan. LBHI’s chapter 11 plan became effective on March 6, 2012,
and LBHI is authorized to operate its business and manage its property as a debtor in possession
pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

In August 2009, the Bankruptcy Court authorized LBHI to pursue claims with respect to the
origination and purchase of residential mortgage loans. LBHI is pursuing that exact type of
claim here and prosecuting this case to preserve the value of its assets for the benefit of its
creditors.


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                                   I. NATURE OF ACTION

           1.   At all times relevant hereto, Lehman Brothers Bank, FSB (“LBB,” and

  collectively with LBHI, “Lehman”) purchased mortgage loans from Universal pursuant to a

  series of written contracts. LBB subsequently assigned its rights under those contracts to

  LBHI. With respect to certain of these mortgage loans, Universal breached provisions of the

  contracts that required it to repurchase from, or indemnify Lehman for, mortgage loans which

  failed to comply with the parties’ contracts.       By this action, LBHI seeks to recover money

  damages for injuries that have been sustained as a result of Universal’s failure or refusal to

  honor its obligation to repurchase loans and/or indemnify Lehman for its incurred losses.

           2.   The claim presented in this Complaint was originally Count 5 of LBHI’s 8-count

  complaint in Case No. 11-20859-CIV-KING, filed in the Southern District of Florida.

  Pursuant to a ruling by the District Judge at the pretrial conference on January 4, 2013, and a

  subsequent Order entered on January 9, 2013, this claim was dismissed without prejudice to be

  re-filed as a separate cause of action because the District Judge was of the opinion that each

  loan must be filed separately, rather than joined within one action.

                                          II. PARTIES

           3.   Plaintiff LBHI is a Delaware corporation with its principal place of business in

  New York, New York.

           4.   Defendant Universal is a Florida limited liability company with its principal place

  of business at 700 N.W. 107th Avenue, Suite 400, Miami, Florida.

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                               III. JURISDICTION AND VENUE

           5.    This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because there is

  complete diversity of citizenship between Plaintiff LBHI and Defendant Universal, and the

  amount in controversy exceeds $75,000, exclusive of interest and costs.

           6.    Personal jurisdiction comports with due process under the United States

  Constitution and the long-arm statutes of Colorado because Universal has been registered to do

  business in Colorado since 2002 and has maintained an agent in the state for the last ten years.

           7.    Universal has purposefully availed itself of the benefit of doing business—both

  with and without Lehman—in Colorado. On information and belief, Universal’s business in

  Colorado includes, but is not limited to, mortgage lending operations.

           8.    In 2004, Universal entered into a business relationship with the Lehman entities

  pursuant to which Universal would sell residential mortgage loans to Lehman.                   That

  relationship was overseen by Aurora Loan Services, LLC (“Aurora”), a Lehman subsidiary

  based in Littleton, Colorado.

           9.    Universal has had continuous and systematic communication with Lehman

  entities in Colorado, such as Aurora, including with respect to the loans and related

  transactions at issue in this case. This includes: (1) recertification of their ability to originate

  loans; (2) securing delegated underwriting authority, which affected Universal’s ability to

  approve mortgage loans to sell to Lehman with less oversight from Lehman; and (3)

  responding to repurchase demands from Lehman issued from Colorado.

           10.   Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial

  part of the events that give rise to the claims occurred in this District and because the division




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  of LBHI that oversees its residential mortgage loss recovery program is based in Greenwood

  Village, Colorado, and thus its witnesses and documents are located here.

                                 IV. FACTUAL ALLEGATIONS

            11.   At all relevant times, Lehman engaged in the purchase and sale of mortgage

  loans.

            12.   Universal engages in mortgage lending, as well as the sale of mortgage loans in

  the secondary market to investors such as Lehman.

            13.   Universal entered into a written Loan Purchase Agreement (Servicing Released

  Transactions) dated September 20, 2005, with LBB and thereafter amended the Agreement by

  Addendum dated October 1, 2006 (together the “Agreement”). A true and correct copy of the

  Agreement is attached hereto as Exhibit 1.

            14.   The Agreement specifically incorporates the terms and conditions of the Seller's

  Guide of Lehman's agent, Aurora Loan Services LLC, which sets forth additional duties and

  obligations of Universal.

            15.   The Seller's Guide in its entirety is valid and binding upon Universal. Attached

  hereto as Exhibit 2 are the specific Sections most directly pertinent to the claims in this

  Complaint.

            16.   The Agreement and the Seller’s Guide set forth the duties and obligations of the

  parties with respect to the purchase and sale of mortgage loans, including but not limited to

  purchase price, delivery and conveyance of the mortgage loans and mortgage loan documents,

  examination of mortgage loan files and underwriting, representations and warranties

  concerning the parties and individual mortgage loans purchased or sold, and remedies for

  breach.




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           17.   Universal sold mortgage loans to LBB pursuant to the terms of the Agreement

  and Seller's Guide, including Loan ****0120 (Gomez).

           18.   LBB purchased Loan ****0120 from Universal.

           19.   Subsequent to the sale of Loan ****0120 by Universal to LBB, LBB sold Loan

  ****0120 to LBHI.

           20.   Subsequent or simultaneously with the sale by LBB to LBHI, LBB assigned to

  LBHI all of its rights and remedies under the Agreement and Seller's Guide pertaining to Loan

  ****0120.

                            Misrepresentation/Underwriting Defects

           21.   With respect to each of the loans sold to Lehman under the Agreement and

  Seller's Guide, Universal made a number of representations, warranties and covenants

  concerning the mortgage loans including, but not limited to the following:

                 (a)   the validity of all mortgage loan documentation;

                 (b)   the accuracy and integrity of all information and documentation regarding
                       borrower identity, income, employment, credit, assets, and liabilities used
                       in making the decision to originate the mortgage loans;

                 (c)   occupancy by the borrowers of the properties securing the mortgage loans;

                 (d)   the ownership, nature, condition, and value of the real properties securing
                       the mortgage loans; and

                 (e)   the conformance of the mortgage loans with applicable underwriting
                       guidelines and loan program requirements.

           22.   Universal also represented and/or warranted that no errors, omissions,

  misrepresentations, negligence, fraud, or similar occurrence took place with respect to the

  mortgage loans by any person involved in the origination of the mortgage loans, and that no

  predatory or deceptive lending practices were used in the origination of the mortgage loans.


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           23.   Universal represented and/or warranted that it had the ability to perform its

  obligations under, and satisfy all requirements of, the Agreement and Seller’s Guide.

           24.   Lehman discovered material problems with Loan ****0120 (Gomez) and that

  Universal had breached representations, warranties and/or covenants under the Agreement and

  Seller's Guide, including, without limitation, those set forth above.

           25.   As to Loan ****0120 (Gomez), the borrower and/or loan documents, including

  the borrower's loan application, failed to disclose or otherwise include borrower's other

  mortgage debt obligations.

           26.   The misrepresentation on the loan application was a material breach of

  Universal’s representation, warranty and covenant in Section 703(1) of the Seller’s Guide that:

          No document, report or material furnished to Purchaser in any Mortgage Loan
          File or related to any Mortgage Loan (including, without limitation, the
          Mortgagor’s application for the Mortgage Loan executed by the Mortgager), was
          falsified or contains any untrue statement of fact or omits to state a fact necessary
          to make the statements contained therein not misleading.

           27.   The misrepresentation on the loan application also constituted a material breach

  of Universal’s representation, warranty and covenant in Section 703(12) of the Seller’s Guide

  that:

          The documents, instruments and agreements submitted for loan underwriting were
          not falsified and contain no untrue statement of material fact or omit to state a
          material fact required to be stated therein or necessary to make the information
          and statements therein not misleading. No fraud was committed in connection
          with the origination of the Mortgage Loan. The Seller has reviewed all of the
          documents constituting the Mortgage Loan File and has made such inquiries as it
          deems necessary to make and confirm the accuracy of the representations set forth
          herein.

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           28.   Section 701 of the Seller’s Guide provides that:

         Seller acknowledges that Mortgage Loans are purchased in reliance upon: (i) the
         truth and accuracy of Seller’s representations and warranties set forth in the Loan
         Purchase Agreement and this Seller's Guide, each of which representations and
         warranties relates to a matter material to such purchase; and (ii) Seller’s
         compliance with each of the agreements, requirements, terms, covenants and
         conditions set forth in the Loan Purchase Agreement and this Seller's Guide.

           29.   The breaches discussed above materially and adversely affected the value of the

  Loan and the interests of LBHI causing LBHI to lose over one-hundred thousand dollars.

           30.   As assigned, the Agreement and Seller’s Guide provide that in the event of a

  breach of the representations, warranties, and/or covenants, Lehman or its agent may demand

  that Universal repurchase the loan and Universal shall repurchase the loan at a certain

  repurchase price, and/or that Universal shall indemnify Lehman or its agent for Lehman's

  losses on such a loan.

           31.   LBHI, through its agent, provided Universal with a letter informing Universal of

  Universal’s material breaches of the representations, warranties, and covenants with respect to

  Loan ****0120.

           32.   Universal has refused or otherwise failed to repurchase Loan ****0120 and has

  otherwise failed to comply with its obligations under the Agreement and Seller's Guide,

  including its obligation to indemnify LBHI.

           33.   Universal’s failure and refusal to honor its contractual obligations discussed

  above causing LBHI to suffer losses on the loan discussed above which it would not have

  suffered had Universal honored its obligations.

           34.   Pursuant to Section 8 of the Agreement, the laws of the State of New York govern

  this contract action.




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           35.   All conditions precedent to bringing this action have been met, occurred or have

  been waived.

                                   V. CLAIMS FOR RELIEF

                                      First Claim for Relief
                                       (Breach of Contract)

           36.   LBHI hereby incorporates by reference the allegations set forth above as though

  fully set forth herein.

           37.   The Agreement and the Seller's Guide is a valid and enforceable contract that is

  binding upon Universal.

           38.   Lehman, Lehman's agents, and any and all assignees of Lehman's rights have

  substantially performed all of their obligations under the Agreement and Seller's Guide.

           39.   Universal breached the Agreement and Seller's Guide by breaching the

  contractual representations, warranties, and/or covenants, including but not limited to those

  described above in Section IV above.

           40.   Universal further breached the Agreement and Seller's Guide by refusing or

  otherwise failing to repurchase Loan ****0120 and/or failing to indemnify Lehman for its

  losses as to Loan ****0120.

           41.   Universal’s breaches of the Agreement and Seller's Guide as to Loan ****0120

  resulted in actual and consequential damages to LBHI in excess of $100,000.00, plus

  prejudgment interest pursuant to New York law, attorneys fees, litigation costs and all other

  fees and costs provided by the Agreement, the exact amount of which to be proven by the

  evidence.




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                                    PRAYER FOR RELIEF

         WHEREFORE, LBHI respectfully requests that this Court enter judgment in its favor and

against defendant Universal as follows:

                (a)    For all damages arising from or relating to Universal’s breaches of

                       contract, in an amount to be proven at trial;

                (b)    For an Order of this Court declaring that Universal is required to

                       compensate Lehman immediately for all actual and consequential damages

                       resulting from Universal’s breaches of the Representations, Warranty, and

                       Covenant provisions of the Agreement and Seller’s Guide;

                (c)    For recoverable interest;

                (d)    For the costs and expenses incurred by LBHI in enforcing Universal’s

                       obligations under the Agreement and Seller’s Guide, including attorneys’

                       fees and costs and any expert witness fees incurred in litigation; and

                (e)    For such other relief as the Court deems just and proper.


Dated: January 15, 2013
                                                   Respectfully submitted,

                                                   By:        /s/ Christopher P. Carrington
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